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                 NO ITIN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


LONTEX CORPORATION,                                   Civil Action No.: 18-cv-5623
                           Plaintiff,
                                                      (Hon. Michael M. Baylson)
      V.                                              (Master Sandra Jeskie, Esq.)

NIKE, INC.,                                                                 FILED
                           Defendant.
                                                                            JAN O7 2019
                                                                          KATE BARKMAN, Clerk
                                   Fil   5 SM ORDER                      By_ _ _ _Dep. Clerk

      AND NOW, this~day of       JO(W"j2020, upon consideration ofthe Defendant's NIKE,
Inc. Motion to Seal Exhibits 1-4 of to the Declaration of Marc Miller In Support of NIKE's

Opposition To Plaintiff Lontex Corporation's Motion To Challenge the Confidentiality

Designation of NIKE's Document Labeled NIKE-00044255, it is hereby ORDERED that

Defendant's Motion is GRANTED.



                                         AND IT IS SO ORDERED.



                                                                             . Baylson




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